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Office of the Standing Chapter 13 Trustee
125 E John Carpenter Freeway
Suite 1100 11th Floor
Irving, TX 75062
(214) 855-9200 / (214) 965-0757 (Fax)


                                         IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE NORTHERN DISTRICT OF TEXAS
                                                      DALLAS DIVISION


IN RE:                                                                                  Case No: 17-32081-BJH-13
MATTHEW DEION BATEMAN
           Debtor                                                                       Pre-Hearing Date: April 05, 2018



                                    Notice of Pre-Hearing Conference and Hearing on
                      "Trustee's Recommendation Concerning Claims, Objection to Claims and Plan
                                                Modification (if required)"

TO:        ALL PARTIES IN INTEREST

A pre-hearing conference with the Chapter 13 Trustee concerning the Trustee's Recommendation Concerning Claims,
Objection to Claims and Plan Modification (if required) ("TRCC") will be held at 8:30 a.m. on April 05, 2018 at 105
DECKER COURT, SUITE 120, 1ST FLOOR, IRVING, TX 75062.

Any objection to the Pleading not resolved or defaulted at the Trustee's pre -hearing conference will be heard by the Court
at 2:00 p.m. on the same day at 1100 Commerce Street, Fourteenth Floor, Dallas, Texas.

Pursuant to General Order 2017-01, unless an objection is timely filed as to the treatment of any claim or modification, the
claim or modification will be allowed or approved as described in the TRCC, and such treatment will be final and binding on
all parties.

TO BE CONSIDERED, ANY OBJECTION OR RESPONSE MUST BE MADE IN WRITING, FILED WITH THE COURT,
AND A COPY SERVED ON ANY AFFECTED CREDITORS AND ON THE FOLLOWING PARTIES NO LATER THAN
02/16/2018.


      Debtor:     MATTHEW DEION BATEMAN, 1325 FOREST CREEK DRIVE, DESOTO, TX 75115
      Attorney:   ALLMAND LAW FIRM PC, 860 AIRPORT FREEWAY SUITE 401, HURST, TX 76054
      Court:      CLERK'S OFFICE, US BANKRUPTCY COURT, 1100 COMMERCE ST., 12TH FLOOR, DALLAS, TEXAS, 75202
      Trustee:    TRUSTEE'S OFFICE, 125 E. JOHN CARPENTER FREEWAY, SUITE #1100, IRVING, TEXAS 75062




                                                                   By: /s/ Thomas D. Powers
                                                                   Thomas D. Powers, Chapter 13 Trustee
                                                                   State Bar No. 16218700
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MATTHEW DEION BATEMAN
Trustee's Recommendation Concerning Claims, Objection to Claims and Plan Modification (if required)




                                                                Certificate of Service

I hereby certify that a copy of the foregoing "Notice of Hearing on Trustee's Recommendation Concerning Claims, Objection to Claims
and Plan Modification (if required)" and "Trustee's Recommendation Concerning Claims, Objection to Claims and Plan Modification (if
required)" was served on the following parties at the addresses listed below by United States First Class Mail or via electronic mail.


Debtor:         Matthew Deion Bateman, 1325 Forest Creek Drive, Desoto, Tx 75115
Attorney:       Allmand Law Firm Pc, 860 Airport Freeway Suite 401, Hurst, Tx 76054**
Creditor(s):    Amco Systems, Po Box 21625, Columbia, Sc 29221
                Amcol Systems Inc, Po Box 21625, Columbia, Sc 29221
                Ashley Funding Services Llc, Resurgent Capital Services, Po Box 10587, Greenville, Sc 29603-0587**
                Attorney General Of Texas, Oag Csd Mail Code 38, Po Box 12017, Austin, Tx 78711-2017**
                Baylor Univ Medical Ctr, C/O Creditors Bankruptcy Service, Po Box 800849, Dallas, Tx 75380
                Capital One, Po Box 85064, Glen Allen, Va 23058
                Credit Systems Intl In, 1277 Country Club Ln, Fort Worth, Tx 76112
                Edward Brown, 4763 Clover Haven, Dallas, Tx 75227
                Great Lakes Student Loan, 2401 International Lane, Madison, Wi 53704
                Internal Revenue Service, Po Box 7317, Philadelphia, Pa 19101-7317**
                Internal Revenue Service, Po Box 7346, Philadelphia, Pa 19101-7346**
                Linebarger Goggan Blair Et Al, 2323 Bryan St Ste 1600, Dallas, Tx 75201-2644**
                Portfolio Recovery Associates, By Pra Receivables Management, Po Box 12914, Norfolk, Va 23541**
                Portfolio Recovery Associates, By Pra Receivables Management, Po Box 41067, Norfolk, Va 23541**
                State Comptroller, Revenue Accounting Div Bankrup, Po Box 13528, Austin, Tx 78711**
                Td Auto Finance Llc, Po Box 16041, Lewiston, Me 04243
                Td Auto Finance Llc, Po Box 551080, Jacksonville, Fl 32255
                Td Auto Finance, Po Box 9223, Farmington Hills, Mi 48333
                Texas Alcoholic Beverage Comm, Licenses And Permits Division, Po Box 13127, Austin, Tx 78711-3127**
                Texas Employment Commission, Tec Building Bankruptcy, 101 E 15Th Street, Austin, Tx 78778**
                United Revenue Corp, 204 Billings St, Ste 120, Arlington, Tx 76010
                Us Dept Of Ed-Glelsi, Po Box 7860, Madison, Wi 53707
                Verizon Wireless, Po Box 26055, Minneapolis, Mn 55426
                Verizon, By American Infosource Lp As Agent, 4515 N Santa Fe Ave, Oklahoma City, Ok 73118
                Verizon, By American Infosource Lp As Agent, Po Box 248838, Oklahoma City, Ok 73124-8838
                Wilcox Law Pllc, Po Box 201849, Arlington, Tx 76006**
**Indicates party has elected to receive all notifications via electronic service and was not served a copy via United States First Class Mail.



     Dated: 01/17/2018                                                        By: /s/ Thomas D. Powers
                                                                              Thomas D. Powers, Chapter 13 Trustee
                                                                              State Bar No. 16218700
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MATTHEW DEION BATEMAN
Trustee's Recommendation Concerning Claims, Objection to Claims and Plan Modification (if required)




                                             IN THE UNITED STATES BANKRUPTCY COURT
                                               FOR THE NORTHERN DISTRICT OF TEXAS
                                                          DALLAS DIVISION



IN RE:                                                                                     Case No: 17-32081-BJH-13
MATTHEW DEION BATEMAN
           Debtor                                                                          Hearing Date: April 05, 2018



                     Trustee's Recommendation Concerning Claims, Objection to Claims and
                                       Plan Modification (if required)

The Trustee hereby objects to the following claims for the reason (s) indicated, pursuant to Bankruptcy Rule 3007:

                                                                        I.

                                             OBJECTION -- NO PROOF OF CLAIM FILED

The following creditors were scheduled by the Debtor. No Proof of Claim has been filed by them or on their behalf, as
required by Bankruptcy Rule 3002(a). The "bar date" for filing claims pursuant to Bankruptcy Rule 3002 (c) has passed.
Therefore the claims should be DISALLOWED.

            T'ee #                         Creditor's Name                               Class            Sched Amount
                 4      AMCOL SYSTEMS INC                                          Unsecured                     $1,159.00
                 8      AMCOL SYSTEMS INC                                          Unsecured                       $801.00
                11      CREDIT SYSTEMS INTL IN                                     Unsecured                         $52.00
                20      UNITED REVENUE CORP                                        Unsecured                     $1,254.00
                21      US DEPT OF ED-GLELSI                                       Unsecured                     $9,181.00
                24      CREDIT SYSTEMS INTL IN                                     Unsecured                         $46.00
                25      UNITED REVENUE CORP                                        Unsecured                       $423.00


                                                                        II.

                                                      SPECIFIC OBJECTIONS

The Trustee hereby objects to the following claims, for the reason (s) indicated in Column 7. The claims should be
ALLOWED/DISALLOWED as indicated in Column 4 for the amount and class indicated in Columns 5 and 6 respectively.

 Column I                       Column 2                     Column 3         Column 4    Column 5   Column 6    Column 7     Column 8
                                                       Claim Amount            Allow/                           Reason
Pacer #                      Creditor Name                                    Disallow    Amount      Class     (See Below)   T'ee #


              *** NONE ***

                                               CODE: "REASON(S)" FOR CLAIM OBJECTION

              *** NONE ***
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MATTHEW DEION BATEMAN
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                                                                        III.

                            TRUSTEE'S RECOMMENDATIONS CONCERNING ALLOWED CLAIMS
The Trustee hereby recommends the ALLOWANCE of the following claims for the amount and in the class listed below.

  T'ee
 Clm # DSO Creditors                                   Comment                                  Claim Amount           %       Paid By
         *** NONE ***

  T'ee
 Clm #   Mortgage Arrears and Conduit Creditors             Collateral                             Claim Amount            %      Paid By
         *** NONE ***

  T'ee      Secured 910 Creditors -
 Clm #      No Cram Down                                   Collateral                           Claim Amount       %           Paid By
            *** NONE ***

  T'ee
 Clm # Secured Creditors                      Collateral                         Claim Amount      Value           %           Paid By
     1 TD AUTO FINANCE LLC                    07 DODGE RAM 1500                     $9,839.72      $12,775.00      5.25 Trustee

  T'ee      Secured Creditors -
 Clm #      Surrendered                              Collateral                         Claim Amount       Value               Paid By
            *** NONE ***

  T'ee   Secured Creditors -
 Clm #   Paid Direct                                        Collateral                                 Claim Amount            Paid By
         *** NONE ***

  T'ee
 Clm #      Priority Creditors                             Comment                                     Claim Amount               Paid By
            *** NONE ***

  T'ee
 Clm #      Unsecured - Special Class Creditors              Comment                                   Claim Amount            Paid By
            *** NONE ***

  T'ee      Executory Contracts/
 Clm #      Unexpired Leases                                  Comment                                  Claim Amount               Paid By
            *** NONE ***

   T'ee
  Clm #         Unsecured Creditors                                  Comment                                  Claim Amount
        5       PORTFOLIO RECOVERY ASSOCIATES                        CAPITAL ONE BANK                                   $351.21
      22        VERIZON                                                                                                 $494.23
      26        BAYLOR UNIV MEDICAL CTR                                                                                 $442.37
      29        ASHLEY FUNDING SERVICES LLC                          REIMBURSEMENT TECH/CENTURY INTEGRATED PRTNRS/EMCARE
                                                                                                                      $1,486.00

                                                                     IV.

                                          PLAN MODIFICATION, subject to feasibility
Pursuant to 11 U.S.C. Section 1329, and in accordance with General Order 2017 -01, the Trustee requests the following
Modification of the Debtor Confirmed Plan, subject to feasibility, herein:

    • Change monthly payment amount from $348.00 per month to $348.00 X 30; $144.00 X 22. This payment
    change will begin with the payment due on 02/28/2018; and
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    • The above change(s) will result in a new "BASE AMOUNT" of $16,024.00 (total due to Trustee under Plan, if all
    payments timely made).


                                                     Reason for Modification

The modification is requested for the following reason (s):

    • To cure an insufficient plan.




                                                                  By: /s/ Thomas D. Powers
                                                                  Thomas D. Powers, Chapter 13 Trustee
                                                                  State Bar No. 16218700
